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IN 'I`HE UNITED STATES DISTRICT C()URT FH ED mcf 0 (`
FOR THE WESTERN DISTRICT OF TENNESSEE ' "J z ' "'

 

 

WESTERN DIVISION Uq JUH ,__6 fm H. 02

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UNITED sTATEs oF AMERICA ) W'D‘ ap TN‘ aligst
)
Piaimiff, )
)

vs ) CR. No. 94_20276-02-13
)
sHEREE MC KINLEY, )
)
Defendant. )
ORDER To SURRENDER

 

The defendant, Sheree McKinley, having been sentenced in the above case to the custody of
the Bureau of Pn'sons and having been granted leave by the Court to report to the designated facility,
IS HEREBY ORDERED to surrender to the Bureau of Prisons by reporting to the FMC Tallahassee,
501 Capitol Circle, NE, Tallahassee, FL 32301-3572 by 2:00 p.m. on THURSDAY, JUNE 30,
2005.

IT IS FURTHER ORDERED that upon receipt of a copy of this Order the defendant Shall
report immediately to the Office of the C]erk, Federal Office Bui]ding, 167 N. Main Street, Room 242,
Memphis, Tennessee 38103 to acknowledge by signature receipt of a copy of this Order and that the
defendant will report as ordered to the facility named above.

. gi*~
ENTERED this the clay of June, 2005.

/

J 1 IEL BREEN \
l D STATES DISTRICT JUDGE

 

docket Sheet in compliance

This document entered onthe f 5

W`ith Rule 35 ami/or 32{b) FHCrP on '

 

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ACKNOWLEDGEMENT

I agree to report as directed above and understand that
if I fail to report, I may be cited for contempt of
Court and if convicted, may be punished by
imprisonment, fine or both.

Signed and acknowledged before me on

 

 

 

Clerk/Deputy Clerk Defendant

UNITED sTEATS DSTIRIC COURT - WENSTER DISITRCT oFTENNESSEE

    

Notice of Distribution

This notice confirms a copy of the document docketed as number 209 in
case 2:94-CR-20276 Was distributed by faX, mail, or direct printing on
June 7, 2005 to the parties listed.

 

 

Christopher E. Cotten

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Honorable .l. Breen
US DISTRICT COURT

